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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


JOHN C. WILLIAMS,              )
9725 Winding Way Ln.           )
Jonesboro, GA 30238            )                   Case No.
                               )
       Plaintiff,              )
                               )
MIGUEL CARDONA,                )                   JURY TRIAL DEMANDED
Secretary of the Department of )
Education                      )
                               )
       Defendant.              )
                               )
Serve:                         )
Office of the General Counsel  )
U.S. Department of Education   )
400 Maryland Ave., SW          )
Washington, DC 20202           )
                               )
United States Attorney         )
57 Pennsylvania Ave. NW        )
Washington, DC 20530           )
                               )
United States Attorney General )
950 Pennsylvania Ave. NW       )
Washington, DC 20530           )
______________________________)


           COMPLAINT FOR INJUNCTIVE AND COMPENSATORY RELIEF

       Comes now Plaintiff, John C. Williams (hereinafter “Plaintiff” or “Mr. Williams”) by and

through undersigned Counsel, with his Complaint for Injunctive and Compensatory relief, against

Defendant Department of Education- Federal Student Aid (hereinafter “Defendant” or “DOE”)

and states as follows:




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                                      INTRODUCTION

       Plaintiff is an African American male employee at the DOE, who was hired in May of 2016

to be a GS-1102 Grade 14- Step 10 Contract Specialist for the DOE, Office of Federal Student

Aid (hereinafter “FSA”).    Mr. Williams had decades of federal contracting experience and

Government and Civilian training from previously held federal contracting positions. In December

2016, for reasons that have never been explained by DOE, a training coordinator determined that

DOE would no longer honor or accept the training certifications and experience that Mr. Williams

had. On or about May 29, 2020, FSA demoted Mr. Williams from his position of GS 1102-14 Step

10 to a GS 1102-12, and informed him that he would have to retake years of training courses he

had completed over the past twenty plus years.

       In February of 2019, Mr. Williams filed a complaint with the Merit Systems Protection

Board, and in December of 2019, Administrative Law Judge Alexander Thompson, (hereinafter

“ALJ” or “Judge Thompson”) held a hearing, and issued a preliminary ruling completely

vindicating Plaintiff, and ordering that he be returned back to the GS-14 Step 10 pay grade, be

given back pay for lost wages, and allowed to continue his work with the credentials he had.

       DOE appealed the ALJ’s decision to the Board, however the Board had insufficient

members to rule on anything, and the appeal has languished. Despite the clear instruction of the

ALJ’s ruling, which provided Mr. Williams interim relief, DOE adamantly refused to abide by the

ALJ order. DOE returned Plaintiff to the GS-14 Step 10 grade, but it refused to pay him owed

back wages, and refused to honor his certifications and allow him to do the work he was hired to

do.

       At the time that Plaintiff filed his MSPB claim, he also filed an EEOC charge, alleging that

he was being discriminated against because of his race. Importantly, Plaintiff’s MPSB claim did




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not raise race discrimination as a claim, so the claims were not duplicative. It only alleged that his

demotion and decertification were unjustified. The retaliation against Plaintiff has escalated since

his filings, and to this day, DOE has refused to honor the ruling of the ALJ, and has continued to

engage in retaliation via adverse actions, and the creation of a hostile work environment.

Plaintiff’s Title VII claims are now ripe for adjudication in this Court.

       Plaintiff, herein, bring claims pursuant to the Title VII of the Civil Rights Act of 1967, 42

U.S.C. §§ 2000 (e), et seq., The Age Discrimination in Employment Act, and the District of

Columbia Human Rights Act of 1967, 29 U.S.C. §§621, et seq., and seeks injunctive relief and

compensatory damages for the DOE’s blatant retaliation and harassment against him for engaging

in protected activity, and for its racially discriminatory treatment.



                                             PARTIES

1.     Plaintiff, John C. Williams, is a sixty-eight (68) year old, African American male, a US Air

Force Veteran and resident of Georgia, who works both in the Atlanta Office of the DOE, and

remotely for the DOE, on matters pertaining to the Government Contracts and Policy Issues in

the FSA Acquisition Department . He has been employed with the DOE since 2016.

Defendant is a federal agency, headquartered in the District of Columbia, that administers federal

funds and regulates educational institutions. The Secretary of the Department of Education is

Miguel Cardona. The head of the Federal Student Aid program is Richard Codray , who works

out of the District of Columbia DOE Headquarters (hereinafter “Headquarters”).




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                                 JURISDICTION AND VENUE

2.     This Court enjoys jurisdiction over this matter because it brings claims pursuant to the laws

of the United States. Venue is appropriate in this jurisdiction because all final decision-makers

who are relevant to this matter work out of the DOE Headquarters located in the District of

Columbia, and because Plaintiff began his employment with DOE in Washington, DC.



                                       RELEVANT FACTS

3.     Mr. Williams was interviewed and hired by Federal Student Aid to be in the policy

department, as a GS 14 Step 10 Contracts Specialists in May 2016.

4.     Plaintiff was hired into, and worked at the DOE headquarters building in the District of

Columbia. When Plaintiff first reported to the FSA, he was welcomed as a Contracting Officer,

which differed from what he was hired for.

5.     From May of 2016 until December of 2016, Plaintiff was working in the role for which he

was hired as a Contracting Specialists , but without a warrant, which is essentially a permit to sign

large contracts.

6.     During that period, Plaintiff was working for Andrew Jernell, who served as Plaintiff’s

immediate supervisor.     Mr. Jernell reviewed the documentation of Plaintiff’s certifications and

training, and instructed Plaintiff to upload all of those records into the FAITAS system, which is

a federal system for housing and verifications of records.

7.     After Mr. Williams uploaded everything, Bethanne Roberts (white female) (hereinafter

“Ms. Roberts”), the training coordinator for FSA, who was a GS-13, decided that Plaintiff lacked

the certification and training for the Contracting Officer position.




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8.      When Plaintiff informed Mr. Jernell about Ms. Robert’s conclusions, he strongly disagreed

with her assessment, and told Plaintiff that there was no way that Ms. Roberts should have rejected

Plaintiff’s certifications and credentials.

9.      Furthermore, another supervisor from the Policy Department, Janet Carlson (hereinafter

“Ms. Carlson”), a GS-15- Policy Supervisor , whom Mr. Williams was slated to work for when

he was hired by FSA, reviewed Plaintiff’s records and credentials and also concluded that

Plaintiff’s documentation was more than adequate, and in fact, surpassed her own, in terms of

establishing proper training and certification.

10.     Plaintiff asserts that Ms. Roberts held racially biased attitudes, and that she rejected

Plaintiff’s records out of spite and racial animus.

11.     Plaintiff asserts that Ms. Roberts singled him out, and held him to different standards than

any of this colleagues at FSA.

12.     Plaintiff further asserts that Ms. Roberts held lower regard for him because of his age, and

because she felt his skills and mental sharpness were not sufficient for the role he was hired into.

13.     Ms. Roberts, of her own volition, concluded that Plaintiff, who obtained much of his

training and certification while in the military, and while working for the Department of Defense,

lacked “sufficient proof” of his training activities, by randomly creating a proof standard that she

did not apply to white Contracting Officers.

14.     On information and belief, no other FSA employee was held to the proof standard that Ms.

Roberts concocted to apply only to Plaintiff.

15.     Ms. Roberts denied Mr. Williams his FAC-C certification in December of 2016. Ms.

Roberts retired from FSA, and transitioned the role to Angie Leonard (hereinafter “Ms. Leonard”),

who is also a white female GS-13.




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16.    Plaintiff alleges that Ms. Williams harbored many of the same racially biased and

discriminatory biases as Ms. Roberts, and was indoctrinated into disfavoring Mr. Williams by Ms.

Roberts during the period of time they worked together prior to the transition.

17.    For approximately two years, Plaintiff performed the duties of a Contracting Officer, even

though he could not ultimately sign the contracts he drafted. Because his supervisor ensured that

Mr. Williams continued to be paid at the GS-14 level, and because Mr. Jernell assured Plaintiff

that things would work out, Plaintiff believed that the conflict about his credentials would be

resolved.

18.    In December of 2018, Mr. Williams was allowed to work out of the Atlanta Georgia Office

because his mother was sick. However, his entire supervisory chain of command continued to be

in the District of Columbia.

19.    In early 2019, FSA decided to unilaterally move Plaintiff from the IT security contracts, to

the Federal Student Aid Loans department, and give him a new supervisor, by the name of Joshua

Burris (hereinafter “Mr. Burris”), who is a white male.

20.    Almost immediately thereafter, Mr. Burris informed Plaintiff that he was going to be

demoted to a GS-12 rank, and have all of his certifications discounted because of Ms. Leonard’s

baseless representation that Mr. Williams did not have sufficient proof of his training.

21.    Plaintiff immediately complained to Mr. Burris’s supervisors that what Mr. Burris was

doing to him was unfair, unlawful, and based on racial animus, thus engaging in statutorily

protected activity. Mr. Williams complained to the Chief of Staff, Pat Gwaltney (hereinafter “Ms.

Gwaltney”), and he filed a discrimination complaint with the DOE EEO office.




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22.    After investigating Plaintiff’s claim, the EEO officer recommended that the parties go to

mediation to resolve the dispute. However, mediation was not successful, and Mr. Williams was

forced to file his EEOC and MSPB charges.

23.    In February of 2019, Plaintiff filed his EEOC charge, alleging that FSA was engaging in

systematic race and age discrimination against him, of which his unfair demotion was simply one

element. His EEOC charge also alleged retaliation for complaining about the discriminatory and

hostile work environment he was subjected to.

24.    On or about February 29, 2019, Appellant filed for MSPB review of the Department of

Education’s decision to reduce him from his grade and position as a GS 14 – Step 10, 1102

Contracts Specialists, to a GS-12 -1102 Contracts Specialists.

25.    Plaintiff’s MSPB appeal did not allege race discrimination. It simply asserted that his

demotion and denial of credit for certifications was unjustified and against DOE policy.

26.    At the end of 2020, a hearing was held before the MSPB Administrative Law Judge, in

which Plaintiff and the FSA were allowed to put on evidence and live testimony.

27.    On or about January 29, 2021, the Judge Thompson handed down a decision reversing the

Agency’s demotion decision and making material findings of fact and rulings favorable to

Appellant.

28.    Judge Thompson’s order instructed the Agency to grant Appellant the pay grade of GS-14,

and to make him financially whole. A copy of Judge Thompson’s decision is attached hereto as

EXHIBIT 1.

29.    In February of 2021, the Agency partially complied with Judge Thompson’s order to

restore Appellant to GS-14 step 10. However, it recalcitrantly refused to comply with substantial

parts of the interim relief owed to Appellant, including making him whole for the loss of pay and




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giving him the FAC-C certification so that he can execute his duties. For months, Appellant has

been waiting for and expecting the payment of back pay.

30.    Moreover, in lieu of complying with the ALJ’s order, in recent months the Agency has

unilaterally decided to make Appellant go back and re-take even more of his certification courses

that he took more than twenty years, thus frustrating and undermining the ALJ’s award.

31.    Put simply, the Agency found another way to collaterally attack Appellant’s credentials, to

deny him the benefits of his employment, and to circumvent the binding decision of the ALJ.

32.    In accordance with the ALJ’s decision, Appellant timely filed a Petition for Enforcement

of the Decision and Order, outlining the various violations of the Agency, and asking the MSPB

to exercise its authority over the Agency to order it to cease and desist from defying the Decision

and Order.

33.    Additionally, Plaintiff hired undersigned counsel, and indicated to the EEOC that he was

planning to file suit in federal court to pursue his Title VII claims.

34.    Shortly after filing the Petition for enforcement, the FSA escalated its retaliation against

Plaintiff for engaging in protected activity in seeking to vindicate his rights at the MSPB and

EEOC, by removing additional certificates from Plaintiff’s accreditations and making him redo

even more training he had completed years ago.

35.    In addition to the adverse actions taken against Plaintiff, Defendant has created a hostile

work environment for Plaintiff, subjecting him to harsher and more stringent scrutiny than his

white colleagues, denigrating and demeaning him on a frequent basis, constantly and repeatedly

attacking his reputation, and subjecting him to different terms and conditions of employment.

36.    Moreover, whenever Plaintiff signs up for a federally funded or sponsored class or course,

Lavone Shingler (hereinafter “Ms. Shingler”), Plaintiff’s current supervisor, removes him from




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the class or training, thus denying him training opportunities and points towards certifications that

are granted to younger, and non-African American FSA employees.

37.    Plaintiff asserts that the hostile work environment he is enduring has escalated

commensurate to his protected, and that Ms. Shingler and Ms. Leonard are acting on Mr. Burris’

racial animus and disdain for older workers.

38.    The ongoing race and age discrimination that Plaintiff has endured has also affected his

ability to be promoted and has harmed his career.

39.    Furthermore, Plaintiff asserts that he is continuing to be subjected to disparate pay because

of the denial of his back pay award, and the consequence thereof on his retirement annuity.



                                             CLAIMS

                                             COUNT I

                          (Violation of Title VII of the Civil Rights Act,
                42 U.S.C. § 2000(e) et seq.—Race Discrimination & Retaliation)

40.    Plaintiff reasserts all allegations in the previous paragraphs as if fully restated herein.

41.    Plaintiff is a member of a protected class, African American.

42.    From 2016 through the time he was transferred to the Federal Student Aid Loan

department, Plaintiff was doing all of the work of a GS-14 Contracting Officer, except signing the

contracts themselves, and was praised for the work he was doing by his supervisor, Mr. Jernell.

43.    Plaintiff asserts that he was denied credit for his training and certification by Ms. Roberts,

and later by Ms. Leonard because they both harbored animus against him because of his race,

African American, and held him to completely different certification standards that non-African

American employees.




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44.    The ALJ decision, and the transcript of the ALJ hearing, establish that Ms. Leonard and

Mr. Burris did not have legitimate reasons for the way they treated Plaintiff.

45.    Plaintiff engaged in protected activity when he complained of race discrimination and the

creation of a hostile work environment based on race, when he complained to the Chief of Staff of

DOE and to the DOE EEO department, about the unjustified and unfair demotion and removal of

certifications that was initiated by Mr. Burris.

46.    Immediately after being demoted, Plaintiff has been subjected to an ongoing hostile work

environment, in which he has regularly been denigrated, subjected to unfair and disparate terms

and conditions of employment, had his reputation and work product attacked and has been

continually denied training opportunities.

47.    As a direct and proximate cause of Defendant’s racially-biased treatment of Plaintiff, Mr.

Williams has suffered lost wages, damage to his reputation, severe mental and emotional anxiety

and stress and loss of retirement benefits he would otherwise be due.

48.    Plaintiff now seeks injunctive relief by way of a cease and desist ORDER, enjoining

Defendant from continuing its ongoing campaign to attack Plaintiff’s reputation and to deny him

training and other work opportunities.

49.    Plaintiff further seeks money damages, including back pay with interest and attorney’s

fees, of not less than $500,000.



                                             COUNT II

            (Violation of Title VII of the Civil Rights Act, 42 U.S.C. § 2000(e), et seq.
                              Violation of the Paycheck Fairness Act)


50.    Plaintiff reasserts all allegations in the previous paragraphs as if fully restated herein.




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51.     For a year, Plaintiff was unfairly underpaid for the work he was doing because he was

demoted unjustly because of his race.

52.     Plaintiff was given an award of back pay, to make him whole, by the ALJ, but Defendant

has refused to abide by that order.

53.     The wages that have been unfairly and unlawfully withheld from Plaintiff are having an

ongoing deleterious effect on Plaintiff’s retirement annuity, and are thus creating an ongoing injury

to Plaintiff with every paycheck that he receives.

54.     Plaintiff now seeks all damages and remedies available to him under applicable law, as

determined by the Paycheck Fairness Act, as incorporated into Title VII.



                                             COUNT III

                     (Violation of the Age Discrimination in Employment Act,
                                     29 U.S.C. §§ 621, et seq.)

55.     Plaintiff reasserts all allegations in the previous paragraphs as if fully restated herein.

56.     Plaintiff is sixty-eight (68) years old. At the time he was hired by Defendant, he was sixty-

two (62) years old, which places him in a protected class

57.     Plaintiff is a qualified employee, hired to be a GS-14, step 10 Contracting Officer.

58.     Plaintiff was systematically deprived of the rights and privileges of his position, was

unfairly and improperly demoted, was denied back pay, and continues to be retaliated against, at

least in part, because of his age.

59.     Defendant’s treatment of Plaintiff is without justification, and in direct violation of findings

by an ALJ.

60.     Defendant’s treatment was disparate and substantially harsher and more punitive than its

treatment of younger workers with similar job duties.



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61.    Defendant’s treatment of Plaintiff is motivated by animus towards his age, and a belief that

that his skills and mental abilities are no longer valuable.

62.    Defendant’s treatment of Plaintiff amounted to constant, daily and repeated humiliations,

attacks on his honesty and reputation, subjecting him to disparate rules than his colleagues,

depriving him of training and developmental opportunities, and treating him as a less valuable

contributor to FSA.

63.    As a direct and proximate cause of Defendant’s treatment of Plaintiff, he has suffered lost

wages and benefits, damage to his reputation, and severe mental and emotional anguish.

64.    Plaintiff now seeks compensation in an amount of not less than $300,000.00, as well as

interest and attorney’s fees.

                                PRAYER FOR INJUCTIVE RELIEF

65.    In addition to compensatory relief, Plaintiff asks this Court for an ORDER mandating that

FSA ceases and desists from pulling Plaintiff out of training courses he is taking, and otherwise

denying him training opportunities.

66.    Plaintiff asks this Court for an ORDER, mandating that FSA give Plaintiff credit for his

certifications in accordance with the ruling of the ALJ, and give him all permits and permissions

necessary to conduct his work.

67.    Plaintiff asks the Court for a make-whole remedy that ensures that any amounts he has lost

in his pension annuity, as a result of Defendant’s actions be restored with interest.



                                         JURY DEMAND

68.    Plaintiff demands trial by jury on all matters so triable.




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                          Respectfully submitted,

                          ___/s/Pamela M. Keith
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